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PROPOSED COUNSEL FOR DEBTORS
AND DEBTGRS-IN-POSSESSION

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
In re: § Chapter 11
§
WILLIAMS FINANCIAL § Case N0. 17-33578-HDH
GROUP, INC., et al. 1 §
§ (Jointly Administered)
Debtors. §

MOTION TO APPROVE C()MPROMISE

NO HEARING WILL BE CONDUCTED HEREON UNLESS A WRITTEN
RESPONSE IS FILED WITH THE CLERK OF THE UNITED STATES
BANKRUPTCY COURT AT EARLE CABELL FEDERAL BUILDING,
1100 COMMERCE ST., ROOM 1254, DALLAS, TX 75242-1496 BEFORE
CLOSE OF BUSINESS ON BEFORE DECEMBER 4, 2017 WHICH IS AT
LEAST 24 DAYS FROM THE DATE OF SERVICE HEREOF.

 

' The Debtors in these cases, alon0 with the last four di its of each Debtor's federal tax identification number, are:
b
Wii|iams Financial G_ro\_ip, Inc. (89'.72); WFG Management Services, Inc. (7450); WFG Investments, lnc. (7860) and

WFG Advisors, LP (9863). The address for all the Debtors is 271 l N. Haskell Ave., Suite 2900, Dallas, TX 75204.

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ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE
CLERK AND A COPY SHALL BE SERVED UP()N COUNSEL F()R THE
MOVING PARTY PRIOR TO THE DATE AND TIME SET FORTH

HEREIN. IF A RESPONSE IS FILED A HEARING MAY BE HELD

WITH NOTICE ONLY TO THE OBJECTING PARTY.

IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY

REQUESTED, THE RELIEF REQUESTED SHALL BE DEEMED TO BE

UNOPPOSED, AND THE COURT MAY ENTER AN ORDER GRANTING

THE RELIEF SOUGHT OR THE NOTICED ACTION MAY BE TAKEN.

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

Williams Financial Group, Inc. ("WFG") and the affiliated debtors and debtors-in-
possession listed above (the "Debtors") in the above-captioned Chapter 11 cases (the "Cases"),
by and through their undersigned counsel, hereby move the Court (the "Motion") for entry of an
order in the form attached hereto as EXhibit A pursuant to section 502 of the Bankruptcy Code2
and Federal Rule of Bankruptcy Procedure 9019, authorizing the Debtors to enter into the
settlement agreement by and between Michael G. Orr and Leslie L. Orr and WFG Investrnents,
Inc. (the "Orr Agreernent"), a copy of Which is attached hereto as Exhibit B, and in support
thereof state as follows:

JURISDICT!()N

1. The Court has jurisdiction over this Motion pursuant to 28 U.S.C. § 1334. The
matter is a core proceeding pursuant to 28 U.S.C. § 157(b). The Court has the authority to grant
the requested relief pursuant to 11 U.S.C. § 502, Rule of Bankruptcy Procedure 9019, and Local
Rule 9019.

BACKGROUND & PROCEDURAL HISTORY
2. On Septernber 24, 2017, (the "Petition Date"), the Debtors filed voluntary

petitions for relief under Chapter 11 of the Bankruptcy Code, The Debtors continue to operate

 

2 11 U.S.C. §§ 101 et seq.

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their businesses and manage their property as debtors and debtors-in-possession pursuant to
sections 1107(a) and 1108 of the Bankruptcy Code. The Debtors are in the process of winding
down their operations and formulating a chapter 11 plan to make distributions of property of the
estate to their creditors

3. Williams Financial Group, Inc. (“M”), a Texas corporation, is a holding
company, and is the direct or indirect parent of each of the other Debtors.

4. WFG l\/Ianagement Services, Inc. (“Management”) provided management
services to the Debtors.

5. WFG Advisors, LP, (“_M”), is an SEC Registered lnvestment Advisor that
previously provided fee-based wealth advisory and retirement services that included: wrap
accounts, advisor directed or third party-managed accounts, asset allocation and portfolio
reporting, tax trust and estate and financial planning services WFGA was not a custodian and
never held any client assets. WFGA started winding up its affairs in August of 2017 and its
current sole source of revenue is pre-petition earned advisory fees.

6. WFG Investments, Inc., (“M") is a broker-dealer that previously engaged in
the business of facilitating transactions in securities, but has ceased operations and is currently
engaged in the windup and liquidation of its business WFGI operated primarily on an
independent registered representative model. Prior to commencing the windup of its operations,
the Debtor had approximately 225 registered representatives, all of whom were independent
contractors who owned and ran their own businesses, while being licensed through and
supervised by the Debtor.

7. On July 17, 2017, Michael G. Orr and Leslie L. Orr (the "U") instituted an

arbitration against WFGI with the Financial Industry Regulatory Authority ("FINRA"), which

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was assigned FINRA Case Number 17-01884 (the "Orr Arbitration"). In the Orr Arbitration, the
Orrs alleged they suffered losses in connection with certain investments the Orrs made with a
representative of the Debtors. The Debtors deny any and all wrongdoing and liability associated
with the allegations made by the Orrs in the Orr Arbitration. However, given the Debtors'
circumstances as debtors-in-possession in bankruptcy and the wind down of their affairs, the
Debtors sought to find an amicable settlement with the Orrs to avoid incurring additional costs
and attomeys' fees in the Orr Arbitration. The Debtors were able to come to terms with the Orrs,
as stated more fully below and in the Orr Agreement.
THE PROPOSED SETTLEMENT
8. The Orr Agreement consists generally of the following terms:
a. The Debtors agree that WFGI owes the Orrs $220,000, which

amount shall be one combined allowed general non-priority
unsecured claim against the estate of WFGI.

b. The Orrs agree to release certain claims against the Debtors and
related parties;

c. The Orrs retain their claims against Ryan Neal Bowers and Jeffrey
Laberge, who are also parties to the Orr Arbitration;

d. The Orrs agree to dismiss WFGI from the Orr Arbitration with
prejudice

The above terms are merely a summary of the terms contained in the Orr Agreement. In the
event of any conflict or inconsistency between the abbreviated terms recited above and the
complete terms as stated in the Orr Agreement, the Orr Agreement shall control.
RELIEF REOUESTED
9. Compromises are “oftentimes desirable and wise methods of bringing to a close
proceedings otherwise lengthy, complicated and costly.’73 Furthermore,

the approval of a proposed settlement does not depend on establishing as a matter of legal
certainty that the subject claim or counterclaim is or is not worthless or valuable . . .

 

3 In re Jackson Brewing Cornnanv, 624 F_2d 599, 602 (5th Cir. . s

 

 

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[T]he very uncertainties of outcome in litigation . . . lay behind the Congressional
infusion of a power to compromise4

10. Pursuant to Federal Rule of Bankruptcy Procedure 9019, the decision to approve a
compromise of controversy lies within the sound discretion of the Bankruptcy Court.5 A court
should approve a compromise or settlement when the settlement is fair and equitable and in the
best interest of the estate.6 In assessing a proposed settlement or compromise, the Court must
“compare the terms of the compromise with the likely reward of litigation."`7 Such comparison
requires the Court to assess (a) the probability of success in any litigation with due consideration
for uncertainty of fact and law; (b) the complexity and likely duration of any litigation and any
attendant expensesj inconvenience and delay; and (c) all other factors bearing on the wisdom of
the compromise8 The other factors, sometimes referred to as the Foster Mortgage factors,
include (i) the best interests of the creditors, with proper deference to their reasonable views, and
(ii) the extent to which the settlement is truly the product of arms-length bargaining, and not of
fraud or collusion.9

11. The Debtors would show the Court that it is a proper exercise of discretion to
approve the compromise and settlement described herein. While the Debtors are confident of
their legal position, the ultimate outcome of the Orr Arbitration cannot be known with certainty,

while settlement of the Orr Arbitration now will save litigation costs and reduce administrative

 

4 Florida Trailer and Equir)ment Co. v. Deal, 284 F.2d 567, 571 (5th Cir. 1960).

5 E In re Aweco lnc., 725 F.2d 293, 297 (5th Cir.), ceit. den.` 469 U.S. 880 (1984).

 

6 §§ In re Age Refining, Inc., 801 F.3d 530, 540 (5th Cir. 2015); see also In re Foster Mortfr. Corp., 68 F.3d 914,
917 (5th Cir. 1995).

7 Protective Committee oflndependent Stockholders of TMT Trailer Ferrv Inc. v. Anderson, 390 U.S. 414 424
(1968) (hereinaf`ter "TMT").

8 TMT at 424-25; See also In re Caiun Elec. Power Coop., 119 F.3d 349, 356 (5th Cir. 1997); In re Texas Extrusion
Corp,, 68 B.R. 712 (N.D. Tex. 1986).

9 In re Ag e Refining, 801 F.3d at 540 (quoting Caiun Electric and Foster Mortgave).

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expenses The facts and circumstances present in the Orr Arbitration, including the particular

merits of the Orrs' claims and the strength of the Debtors' defenses, as well as the Debtors'

present circumstances, combine to create the special circumstances under which the Debtors

were able to negotiate the Orr Agreement. The Orr Agreement thus ends unnecessary litigation

and continued administrative expense and the possibility of an adverse decision or an appeal and

the attendant delay that could result in delays of distributions to creditors For the foregoing

reasons, the Debtors believe that the compromise is in the best interests of the estate and should

be approved

THEREFORE, the Debtors request that the Court grant this Motion, enter an order

approving the Orr Agreement, and grant such other and further relief as appropriate

Dated: November 10, 2017

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Respectfully submitted,
AKERMAN LLP

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